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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

VALERIE E. GIBBS,

      Plaintiff,
                                                  CIVIL ACTION NO.
vs.
U. S. AUTO SALES, INC.,                            1:20-cv-03371-AT
MYRON PARKER, and
KEN EVANS
      Defendants.


         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and

 Defendants hereby stipulate to the dismissal of the above-styled action with

 prejudice, with each party bearing its own costs and attorneys’ fees.

       Respectfully submitted, this 28th day of January 2021.

 SO STIPULATED:                               SO STIPULATED:

 THE WRIGHT FIRM, LLC                         SWIFT, CURRIE, McGHEE &
                                              HIERS, LLP
 /s/ Victoria Kealy                           _/s/Anandhi S. Rajan__________
 Heather C. Wright                            Anandhi S. Rajan
 Georgia Bar No. 202415                       Georgia Bar No. 592760
 50 Lenox Pointe, NE, Suite B                 1355 Peachtree Street, N.E., Suite 300
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 hwright@thewrightattorrneys.net              anandhi.rajan@swiftcurrie.com
         Case 1:20-cv-03371-AT Document 20 Filed 01/28/21 Page 2 of 3




     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1(C)

      I hereby certify that the foregoing has been prepared with one of the fonts and

point selections approved by the Court in Rule 5.1(C) of the Civil Local Rules of

Practice for the United States District Court for the Northern District of Georgia,

specifically, Times New Roman 14-point.

      Respectfully submitted, this 28th day of January 2021.

                                             THE WRIGHT FIRM, LLC

                                             /s/ Victoria Kealy
                                             Heather C. Wright
                                             Georgia Bar No. 202415
                                             Victoria Kealy
                                             Georgia Bar No. 314371
                                             The Wright Firm, LLC
                                             50 Lenox Pointe, NE, Suite B
                                             Atlanta, Georgia 30324
                                             hwright@thewrightattorrneys.net
                                             vkealy@thewrightattorneys.net
         Case 1:20-cv-03371-AT Document 20 Filed 01/28/21 Page 3 of 3




                         CERTIFICATE OF SERVICE


      I hereby certify that the JOINT STIPULATION OF DISMISSAL WITH

PREJUDICE was electronically filed with the Clerk of Court using the CM/ECF

system, which automatically will send email notification and access to an electronic

copy of such filing to the following:

                                Anandhi S. Rajan
                       Swift, Currie, McGhee & Hiers, LLP
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                            1355 Peachtree Street, NE
                             Atlanta, GA 30309-3591
                        Anamdhi.rajan@swiftcurrie.com

      Respectfully submitted, this 28th day of January 2021.

                                             THE WRIGHT FIRM, LLC

                                             /s/ Victoria Kealy
                                             Victoria Kealy
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